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                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF KENTUCKY
                                          LOUISVILLE DIVISION
                                        ELECTRONICALLY FILED

 LARRY WOODS                                             )
                                                         )
            Plaintiff                                    )
                                                         )
 vs.                                                     )        CIVIL ACTION NO. 3:18-cv-00855-DJH-CHL
                                                         )
 TARGET CORPORATION                                      )
                                                         )
            Defendant                                    )
                                                         )
 _________________________________                       )

                        DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

            Comes the Defendant, Target Corporation (“Target”), by counsel, in accordance with Federal

 Rule of Civil Procedure (“Rule”) 56, and for its Motion for Summary Judgment, states as follows:

                                                        MOTION

             Target respectfully requests the Court enter summary judgment in its favor, as there is no

 genuine issue of material fact with respect to necessary elements of Plaintiff’s claim for negligence.1

 Specifically, there is no genuine issue of material fact regarding whether Target owed a duty to

 Plaintiff, since there is no evidence that Plaintiff was present on Target’s premises when he claims

 his incident occurred or that he encountered a “dangerous condition” on the premises. Additionally,

 even if Plaintiff was on the premises, there is no genuine issue of material fact with respect to the

 premises being maintained in a reasonably safe condition. Therefore, as “there [is no] evidence on

 which a reasonable jury could return a verdict for the non-moving party,” summary judgment is

 warranted.2



 1
     Fed. R. Civ. P. 56.
 2
     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
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                                                   MEMORANDUM

 A.       BACKGROUND

          Plaintiff initiated this negligence action in state court on November 27, 2018. Target then

 timely removed the matter to this Court on December 28, 2018 based upon the parties’ diversity of

 citizenship. Since that time the parties have exchanged written discovery and depositions have been

 taken. Discovery is now completed, and it has shown that this matter should not proceed to trial since

 “there [is no] evidence on which a reasonable jury could return a verdict for the [Plaintiff].”3

          Plaintiff claims that on November 27, 2017 he was on the premises of Target’s store located

 at 3600 Mall Road in Louisville when he slipped on a “small white ‘dessicate’ packet” that was on

 the floor.4 (A dessicate packet is a small, teabag-shaped item put into boxes to absorb moisture.)

 Plaintiff did not fall, but instead continued to leave the store without reporting this alleged slip to any

 Target employee.5 Plaintiff testified that he spoke with a male clerk immediately after the slip

 occurred. However, Plaintiff did not recall the clerk’s name, clothing or any identifying features.6

 There is no documentation supporting that a Target employee interacted with Plaintiff on the date of

 the incident and neither party has been able to identify this alleged clerk.

          Plaintiff testified that he called the store to report the incident that evening. However, there is

 no evidence that Target was notified of Plaintiff’s alleged slip until November 30, 2017 (three days

 later) when Plaintiff came to the store and reported the alleged incident. 7




 3
   Id.
 4
   Pl.’s Compl. at ¶5, 9.
 5
   Pl. Dep. 96:8-25, 97:1-22:, Nov. 13, 2019. Plaintiff’s deposition is attached here as Exhibit 1.
 6
   Id.at 63:11-25, 64:1-23.
 7
   Target Ans. to Interrog. No. 2. Cited portions of Target’s responses to Plaintiff’s discovery requests are attached here as
 Exhibit 2.

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          At that time Plaintiff spoke with Target employee Jonathan Davis about his alleged slip, and

 Mr. Davis made an incident report from the information Plaintiff provided. 8 Mr. Davis also conducted

 an investigation which showed that no employees heard the incident, witnessed the incident, or

 responded to the incident when it allegedly occurred.9 Additionally it was determined that there was

 no store video footage which showed Plaintiff’s alleged slip.10

          Since this suit began, Plaintiff has also admitted that he does not know how the “small white

 ‘dessicate’ packet” got on the floor, or how long it was there before he allegedly encountered it.11

 Additionally, Plaintiff has admitted that he does not know if Target knew about the packet before he

 allegedly encountered it.12 And, most importantly, Plaintiff has offered no specific criticisms of

 Target besides that the packet was allegedly on the floor.13 In other words, Plaintiff has not identified

 anything Target should have done that it did not do to prevent the packet from allegedly being on the

 floor. On the other hand, Target has established that every section of the store is patrolled at least

 every thirty minutes, and that all employees are constantly on the lookout for debris or other

 substances on the floor and immediately clean up anything that is found.14

          As will be detailed below, from this evidence there is no genuine dispute with respect to

 Target’s duty to Plaintiff or Target’s reasonableness in maintaining its premises. Consequently, “there

 [is no] evidence on which a reasonable jury could return a verdict for the non-moving party,”

 summary judgment is warranted.15


 8
   Jonathan Davis Dep. 8:17 – 20, March 11, 2020; Guest Incident Report at p. 1, Nov. 30, 2017. Cited portions of Mr.
 Davis’ deposition are attached here as Exhibit 3. The Guest Incident Report is attached here as Exhibit 4.
 9
   Ex. 3, Davis Dep. 9:8 – 25; Ex. 4, Guest Incident Report at p. 2.
 10
    Ex. 2, Target Resp. to Req. for Prod. No. 12; Ex. 3, Davis Dep. 17:7 – 14.
 11
    Ex. 1, Pl. Dep. 73:7 – 11.
 12
    Ex. 1, Id. at 93:15 – 17.
 13
    Ex. 1, Id. at 142:19 – 22.
 14
    Khadidiatou (“Hadija”) Ndoye Dep. 9:25 – 10:19; 11:24 – 12:3; 15:24 – 16:12, Nov. 22, 2019; Ex. 3, Davis Dep. 15:5
 – 25. Johnathon Davis Dep. 8:12-25, 9:1-2, Feb. 24, 2021. Cited portions of Hadija Ndoye’s deposition are attached here
 as Exhibit 5. Cited portions of J. Davis Dep. Attached here as Exhibit 10.
 15
    Anderson, 477 U.S. at 248.

                                                           3
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 B.       ARGUMENT

          1.       Summary Judgment Standard

          “The Federal Rules of Civil Procedure are the rules of practice which apply to civil actions in

 the federal courts, regardless of whether jurisdiction is based on federal question or diversity of

 citizenship.”16 Therefore, “[w]hen there is a motion for summary judgment in a diversity case, the

 provisions of Rule 56 control its determination.”17

          Summary judgment is appropriate where “there is no genuine dispute as to any material fact

 and the movant is entitled to judgment as a matter of law.”18 While the court must view the evidence

 in the light most favorable to the non-moving party, “[t]he mere existence of a scintilla of evidence

 in support of the plaintiff’s position will be insufficient; there must be evidence on which a

 reasonable jury could return a verdict for the non-moving party.”19 In this way it is this Court’s

 responsibility to determine whether “the evidence presents a sufficient disagreement to require

 submission to a jury or whether it is so one-sided that one party must prevail as a matter of law.”20 As

 will be shown below, there is “no genuine dispute” regarding more than one necessary element of

 Plaintiff’s negligence claim, and therefore summary judgment should be granted in favor of Target.

          2.       Plaintiff cannot establish that he was a business invitee.

          In his Complaint, Plaintiff claims that he was an invitee on Target’s premises on November

 27, 2017. However, from the evidence developed in discovery, no reasonable jury could find that to

 be the case.




 16
    Reid v. Sears, Roebuck and Co., 790 F.2d 453, 459 (6th. Cir. 1986).
 17
    Id.
 18
    Fed. R. Civ. P. 56(a).
 19
    Anderson, 477 U.S. at 248 (emphasis added) .
 20
    Id. at 251 – 52.

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         While federal procedural law applies in this diversity action, the substantive law of Kentucky

 applies to the underlying claim.21 Kentucky recognizes a three-prong test to establish that a person is

 an invitee on a given premises:

         (1) he enters by invitation, express or implied;
         (2) his entry is connected with the owner’s business or with an activity the owner
             conducts or permits to be conducted on his land; and
         (3) there is mutuality of benefit or benefit to the owner. 22

 Here Plaintiff’s proof fails on the very first element – as there is no “genuine dispute” as to if Plaintiff

 even entered onto Target’s premises on November 27, 2017.

         During his deposition Plaintiff was asked several questions regarding the existence of any

 evidence to support his bare claim that he was on Target’s premises on November 27, 2017.

         Q: Did you purchase anything that day with the store?
         A: No. Once they were out of my item, I left the store sir.
         Q: Is there anything that you have to show that you were actually there that day on
             November 27 of ’17?
         A: Only – only if the cameras worked sir.
         Q: Text messages to somebody that might show that –
         A: No sir.
         Q: – you were there? Nobody was with you?
         A: No sir. 23

 In addition to Plaintiff’s lack of evidence demonstrated here, Target has produced evidence to show

 that his only suggestion of evidence – camera footage – does not support Plaintiff’s position.

 Specifically, Collin Davis testified on behalf of Target regarding its policies and procedures for video

 retention. He testified that once Target is notified of a guest incident its policy is to review the

 surveillance video footage of the area when and where the incident occurred.24 A review of the




 21
    See Erie R. Co. v. Tompkins, 304 U.S. 64, 78 (1938).
 22
    Johnson v. Lone Star Steakhouse & Saloon of Kentucky, Inc., 997 S.W.2d 490, 491 – 92 (Ky. App. 1999) (quoting
 Black’s Law Dictionary, 827 (6th ed. 1990)) (internal quotes omitted).
 23
    Ex. 1, Pl. Dep. 100:7 – 19.
 24
    Collin Davis Dep. 13:3-7, 17:19-24, April 21, 2021. Cited portions of Mr. Davis’ deposition are attached here as
 Exhibit 8.

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 electronic incident report reveals that Target complied with its policies and procedures regarding

 Plaintiff’s reported incident.            Specifically, the Report provides that Johnathon Smith (former

 Executive Team Lead-Assets Protection) reviewed Target’s video footage and determined that there

 was not a camera placed in the area where Plaintiff said the incident occurred during the timeframe it

 occurred, and thus, there was no footage of the incident.25 As discussed above, Plaintiff delayed

 reporting the alleged incident until three days after it occurred, and Target’s policy is to look at the

 camera footage of the area where the alleged incident occurred during the time it happened.

             Indeed, Target has affirmed through its responses to Plaintiff’s requests for production of

 documents and the sworn deposition testimony of Jonathan Davis that it has no camera footage which

 “depict the scene as it was at the time of the allegations in Plaintiff’s Complaint, which depict the

 alleged event itself, or which depict Plaintiff,” as there was no video captured for the area of the store

 in which this incident allegedly occurred. 26 In this way there is no evidence to support Plaintiff’s

 bare, self-serving statement that he was on the premises on November 27, 2017.

             Assuming, arguendo, that the Plaintiff relies on Collin Davis’ testimony regarding the video

 surveillance footage of the entrance/exit doors to support an argument that Target should have

 reviewed that footage to determine whether Plaintiff was actually in the store on the date of the

 incident, it is worth noting that Target’s policies and procedures are to review only the video footage

 of the area where an alleged incident occurred during the reported timeframe of the incident. Target

 does not review video footage merely to determine who comes in and goes out of its store.

             On the other hand, Target’s evidence supports its position that Plaintiff did not enter onto its

 premises that day. When Mr. Woods came to the store on November 30, 2017 and reported his alleged

 incident from November 27, an investigation was done which revealed that no employees heard the


 25
      Electronic Incident Report, at p. 2. Cited portions of the Electronic Incident Report are attached here as Exhibit 9.
 26
      Ex. 2, Target Resp. to Req. for Prod. No. 12; Ex. 3, Davis Dep. 17:7 – 14.

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 incident, witnessed the incident, or responded to the incident when it allegedly occurred.27

 Additionally, as detailed above, Target has determined that there was no store video footage of

 Plaintiff’s alleged slip because it allegedly happened in an area that did not have a camera watching.28

 In other words – not one of the possible ways for Target to verify Plaintiff’s claim that he was at the

 store on November 27, 2017 provided any support for his position.

          Here Plaintiff only has a “mere… scintilla of evidence” to support his claim that he was on

 the premises on November 27, 2017 – his own self-serving statement. All other objective evidence –

 proof of purchase, text messages, witnesses, and even the store’s incident investigation and video

 footage review – provide no support for this bare claim. In this way, the question of whether Plaintiff

 was an invitee, such as to impose a duty of care upon Target, “is so one-sided that [Target] must

 prevail as a matter of law” and summary judgment should be granted.29

          3.        Plaintiff cannot establish that he had an encounter with a dangerous condition.

          Assuming, arguendo, that the Court believes that Plaintiff’s own self-serving statement is

 sufficient to create a genuine dispute regarding if Plaintiff was even on the premises at all, Target also

 argues that there is no genuine dispute regarding if Plaintiff had an encounter with a dangerous

 condition while he was allegedly on the premises.

          Under Kentucky law, Plaintiff also bears the burden to establish a prima facie case of premises

 liability, including that:

          (1) he [] had an encounter with a foreign substance or other dangerous condition on
              the business premises;
          (2) the encounter was a substantial factor in causing the accident and the customer’s
              injuries; and
          (3) by reason of the presence of the substance or condition, the business premises were
              not in a reasonably safe condition for the use of business invitees. 30

 27
    Ex. 4, Guest Incident Report at p. 2; Ex. 3, Davis Dep. 9:8 – 25
 28
    Ex. 2, Target Resp. to Req. for Prod. No. 12.
 29
    Anderson, 477 U.S. at 251 – 52.
 30
    Martin v. Mekanhart Corp., 113 S.W.3d 95, 98 (Ky. 2003).

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 Again here, Plaintiff’s proof fails on the first element. Just as Plaintiff cannot establish that he was on

 the premises on November 27, 2017, he cannot establish that he encountered any “foreign substance

 or other dangerous condition on the business premises.”

         This Court previously analyzed the first prong of this test in another matter involving Target,

 styled Vaughn v. Target Corp.31 In Vaughn, the plaintiff claimed that she stepped on a “small, dark,

 sticky substance” on the floor of a Target store which caused her to fall.32 Her only evidence to support

 this claim included her sworn testimony and a shoe that she represented was the shoe she was wearing

 at the time of the incident which had a dark substance on the sole. 33 In contrast Target presented the

 testimony of the employee who responded to the plaintiff’s incident at the time it occurred, and who

 had walked through the exact area six seconds before the plaintiff fell. That employee testified that

 he got down on his hands and knees and did not feel or see any substance on the floor after the plaintiff

 reported the incident.34 The Vaughn Court explained “Vaughn does not have overwhelming evidence,

 or even very convincing evidence, of a substance that caused her to fall,” but held that her testimony

 combined with the shoe itself were enough evidence to allow Vaughn to “crawl over” the “low bar”

 of summary judgment. 35

         Importantly, Plaintiff here has even less evidence to support his claim than the plaintiff had to

 support her claim in Vaughn. While Vaughn had her own testimony, a shoe, and a contemporaneous

 report of her fall with which to overcome summary judgment, Plaintiff here only has his own self-

 serving allegations. Plaintiff’s bare assertions cannot overcome the overwhelming evidence which

 stands in opposition to his theory – including Target’s investigation which found that no one heard,


 31
    2014 WL 4999194 (W.D.K.Y. Oct. 7, 2014). A copy of this opinion is attached as Exhibit 6.
 32
    Id. at 1.
 33
    Id.
 34
    Id.
 35
    Id. at 3.

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 saw, or responded to the alleged incident, and that there was no video footage of the same; Plaintiff’s

 failure to make a contemporaneous report of the alleged incident; and the complete absence of any

 evidence besides Plaintiff’s own statement that he was even at the store on November 27, 2017 in the

 first place (no proof of purchase, no text messages, no one with him at the time). Vaughn’s limited

 evidence, which served to somewhat corroborate her own statements, allowed her to “crawl over” the

 low bar of summary judgment. However, Plaintiff cannot do the same here when he lacks any

 evidence to support his self-serving testimony.

         Plaintiff’s “scintilla of evidence” would not allow a reasonable jury to return a verdict in his

 favor, and summary judgment is warranted.36

         4.       Plaintiff cannot establish that Target failed to maintain the premises in a reasonably
                  safe condition.

         Should the Court believe that the Plaintiff has sufficient evidence to overcome summary

 judgment on the questions addressed above, Target alternatively argues that there is no “genuine

 dispute” regarding whether Target maintained the premises in a reasonably safe condition.

         Under Kentucky law, “possessors [of land] are not required to ensure the safety of individuals

 invited onto their land; but possessors of land are required to maintain the premises in a reasonably

 safe condition.”37 Put another way “if a landowner has done everything that is reasonable under the

 circumstances, he has committed no breach, and cannot be liable to the plaintiff.”38 Furthermore,

 “reasonable care does not require the hazard to be fully remedied.”39

         In Webb, the plaintiff slipped and fell at the entrance to a Dick’s Sporting Goods store when

 floor mats placed there were soaked with water, had been moved out of place, and water was also



 36
    Anderson, 477 U.S. at 248.
 37
    Dick’s Sporting Goods, Inc. v. Webb, 413 S.W.3d 891, 897 (Ky. 2013).
 38
    Carter v. Bullitt Host, LLC, 471 S.W.3d 288, 289 (Ky. 2015).
 39
    Webb, 413 S.W.3d at 899.

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  standing on the tile floor that was exposed by the mats being displaced.40 In analyzing whether or not

  Dick’s had maintained the premises in a reasonably safe condition, the Court looked to the plaintiff’s

  own testimony for information on what steps the store could have taken, but did not take, to warn of

  the condition or make it safe. 41 There the plaintiff had in fact provided specific criticisms regarding

  how she believed Dick’s had not met its duty to maintain a reasonably safe condition on the premises.

  From that analysis the court determined that there was sufficient evidence on the question to overcome

  summary judgment.

           In contrast, in the case at bar Plaintiff has presented absolutely no specific criticisms regarding

  how Target maintained its premises. When asked in discovery to explain why Plaintiff believes that

  Target did not maintain the premises in a reasonably safe condition, Plaintiff merely stated “I slipped

  on a white packet that blended with the floor tiles.”42 He provided absolutely no statement regarding

  what he believes Target did or did not do for that alleged condition to be present. Similarly, at his

  deposition Plaintiff only provided the following:

           Q: If I understand you correctly, your criticism of Target is that this white pillow was
               on the floor and you slipped on it. It’s as simple as that?
           A: Yes sir.43

  Plaintiff did not, and has not, articulated any action that Target did not take that it should have taken

  to prevent the packet from allegedly being on the floor on November 27, 2017.

           Notably, Plaintiff has also failed to produce any expert evidence on this question. Plaintiff has

  only disclosed one expert in this case, an orthopedic surgeon named Dr. Brett Cascio. Dr. Cascio’s

  report and deposition testimony comments only on Plaintiff’s alleged injuries. Plaintiff discloses no




  40
     Id. at 893 – 94.
  41
     Id. at 899.
  42
     Pl.’s Ans. to Interrog. No. 5. Cited portions of Plaintiff’s responses to Target’s discovery requests are attached as
  Exhibit 7.
  43
     Ex. 1, Pl. Dep. 142:19 – 22.

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  expert, and no expert opinions, which allege that Target failed to maintain its premises in a reasonably

  safe condition.

           On the other hand, Target has presented ample evidence of all the steps it took to maintain its

  premises in a reasonably safe condition. In its answers to interrogatories, Target established that

  “Target employees are trained and instructed to continually be on the lookout for any conditions on

  the premises that need attention and correction. Additionally, employees who stock the store are

  trained and instructed to remove all garbage created by the stocking process from the sales floor before

  the store opens.”44 Also, Target employee Khadidiatou “Hadija” Ndoye has testified in this case that

  every section of the store is patrolled every thirty minutes, and that all employees are constantly on

  the lookout for debris or other substances on the floor and immediately clean up anything that is

  found.45 Furthermore, Target employee Jonathan Davis testified in his fact witness deposition that

  both team members (lower level employees) and team leaders are constantly on the lookout for things

  like debris and are trained on Target’s policy that employees are to pick up any such items as they

  come across them.46 Additionally, he solidified that testimony while testifying as a designated

  corporate representative. In the capacity of a corporate representative, he testified that Target requires

  its team members to keep an eye out while walking throughout the store for any spills or debris, and

  to stop and clean any spills or debris they encounter.47 Still, Plaintiff has presented no evidence, either

  lay or expert, to challenge that these efforts failed to rise to the level of doing “everything that is

  reasonable under the circumstances.”




  44
     Ex. 2, Target Ans. to Interrog. No. 12, 17.
  45
     Ex. 5, Ndoye Dep. 9:25 – 10:19; 11:24 – 12:3; 15:24 – 16:12.
  46
     Ex. 3, Davis Dep. 16:5 – 25.
  47
     Ex. 10, J. Davis Depo 8:12-25, 9:1-2.

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             Because there is no “genuine dispute” that Target “maintain[ed] the premises in a reasonably

  safe condition,” no reasonable jury could find in favor of Plaintiff and summary judgment is

  warranted.48

  C.         CONCLUSION

             WHEREFORE, based upon the foregoing, Defendant Target Corporation respectfully

  requests the Court enter an Order GRANTING summary judgment in its favor.




  48
       Webb, 413 S.W.3d at 897; Anderson, 477 U.S. at 248.

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                                       Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

          It is hereby certified that on the 23rd day of November, 2021, I electronically filed the
  foregoing with the clerk of the Court by using the CM/ECF system, which will send a notice of
  electronic filing to the following:


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